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UNITED STATES COURT OF APPEALS

FOR THE NINTH CIRCUIT

 

UNITED STATES OF AMERICA,  ~ No.. 05-50692

| D.C. No. CR-02-000241-TJH-3
Plaintiff - Appellee,

 

 

 

Vv.
RE
JUDGMENT clerk. us better courr
LAMONTE DESHAWN SIMS,
. DEC 14 2007
Defendant - Appellant.
CENTRAL JASTRICT OF CALIFORNI
La DC ee
Appeal from the United States District Court for the Central District of
California, Los Angeles.

This cause came on to be heard on the Transcript of the Record from the
United States District Court for the Central District of California, Los Angeles and
was duly submitted. |

On consideration whereof, it is now here ordered and adjudged by this
Court, that the judgment of the said District Court in this cause be, and hereby is
AFFIRMED.

Filed and entered 11/20/07

 

TRUE COPY
CATHY A. CATTERSON
Clerk of Court
ATTEST

E72 12 2007

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by:

 

 

 
